Case 8:20-cv-00543-JVS-KES Document 36 Filed 11/05/20 Page 1 of 2 Page ID #:475



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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
11
                                SOUTHERN DIVISION
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     SIPCO, LLC, a Georgia limited           Case No. 8:20-cv-00543-JVS-KES
14   liability company,
                                              ORDER RE: JOINT
15                                            STIPULATION OF DISMISSAL
          Plaintiff,
16

17        v.

18   TP-LINK USA CORPORATION, a
19   California corporation
20        Defendant.
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                        ORDER RE: STIPULATION OF DISMISSAL
Case 8:20-cv-00543-JVS-KES Document 36 Filed 11/05/20 Page 2 of 2 Page ID #:476



 1           The Court, having considered the JOINT STIPULATION OF DISMISSAL
 2   filed by Plaintiff SIPCO, LLC and Defendant TP-LINK USA CORPORATION,
 3   (collectively, the “Parties”), and for good cause having been shown, hereby ORDERS
 4   that:
 5           1. All claims and causes of action pending between the Parties in this action are
 6              hereby dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a); and
 7           2. Each party shall bear its own costs and attorneys’ fees.
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10   Dated: November 5, 2020
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13                                           UNITED STATES DISTRICT JUDGE
                                             JAMES V SELNA
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                            ORDER RE: STIPULATION OF DISMISSAL
